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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS



                  THOMAS BOLLINGER                      CIVIL NO. 17-cv-949-DRH-SCW
                      Plaintiff,
                                                        CJRA TRACK: A
                             vs
                                                        PRESUMPTIVE TRIAL MONTH: July
                    MEDICREDIT, INC.                    2018
                       Defendant.
                                                        JUDGE: District Judge David R. Herndon

                                                                           Magistrate Judge Stephen C.
                                                                           Williams



                             SCHEDULING AND DISCOVERY ORDER

         Depositions upon oral examination, interrogatories, request for documents, and answers
 and responses thereto shall not be filed unless on Order of the Court. Disclosures or discovery
 under Rule 26(a) of the Federal Rules of Civil Procedure are to be filed with the Court only to
 the extent required by the final pretrial order, other order of the Court, or if a dispute arises over
 the disclosure or discovery.

         Having reviewed the Report of the Parties and finding that the parties have complied with
 the requirements of Federal Rule of Civil Procedure 26(f) and SDIL-LR 16.2(a), the Court
 hereby approves and enters the Proposed Scheduling and Discovery Order as submitted by the
 parties/as modified at the Pretrial Scheduling and Discovery Conference.

            As previously set by the Court, the presumptive trial month is July 2018.

            IT IS SO ORDERED.

            DATED: October 6, 2017


                                                         /s/ Stephen C. Williams
                                                         ___________________________________________________________________________

                                                         United States Magistrate Judge




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